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                                    UNITED STATES DISTRICT COURT
                                   CENTRAL DISTRICT OF CALIFORNIA
Carpenters Southwest Administrative Corporation,             CASE NUMBER
et al.,
                                                                     CV 16-8040 MWF (SKx)
                                              PLAINTIFF(S)
                            v.
H K B, Inc., et al.,                                          RESPONSE BY THE COURT TO NOTICE TO
                                                                   FILER OF DEFICIENCIES IN
                                           DEFENDANT(S).       ELECTRONICALLY FILED DOCUMENTS


In accordance with the Notice to Filer Of Deficiencies In Electronically Filed Documents

REGARDING:


       12/14/2016                      13                       Application to Appear Pro Hac Vice
       Date Filed                      Doc. No.                 Title of Doc.


IT IS HEREBY ORDERED:

       G The document is accepted as filed
       ✔ The document is stricken and counsel is ordered to file an amended or
       G
         corrected document by December 22, 2016                               .
       G The hearing date has been rescheduled to                                           at
       ✔ Other
       G
            The amended application shall correct the deficiencies noted in the Notice to Filer of Deficiencies
            in Electronically Filed Pro Hac Vice Application (Docket No. 14).




                                                             Clerk, U.S. District Court




Dated: December 15, 2016                                     By: Rita Sanchez/sjm
                                                                 Deputy Clerk


cc: Assigned District Judge and/or Magistrate Judge



              RESPONSE BY THE COURT TO NOTICE TO FILER OF DEFICIENCIES IN ELECTRONICALLY FILED DOCUMENTS
G-112B (01/07)
